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 6
                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
                                      AT TACOMA
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 9 STEPHANIE WILSON, on behalf of
   herself and other similarly situated,              CASE NO. C14-5101 BHS
10
                            Plaintiff,                ORDER DENYING
11                                                    DEFENDANT’S MOTION TO
             v.                                       STRIKE CLASS ALLEGATIONS,
12                                                    GRANTING DEFENDANT’S
   LINDA A. KING AND ASSOCIATES                       MOTION TO DISMISS, AND
13 CLAIMS MANAGEMENT, INC.,                           GRANTING PLAINTIFF LEAVE
                                                      TO AMEND
14                           Defendant.

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16         This matter comes before the Court on Defendant Linda A. King and Associates

17 Claims Management, Inc.’s (“Defendant”) motion to strike class allegations (Dkt. 17) and

18 motion to dismiss (Dkt. 22). The Court has considered the pleadings filed in support of

19 and in opposition to the motions and the remainder of the file and hereby denies the

20 motion to strike, grants the motion to dismiss, and grants Plaintiff leave to amend for the

21 reasons stated herein.

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 1                             I.   PROCEDURAL HISTORY

 2         On February 4, 2014, Plaintiff Stephanie Wilson (“Wilson”), on behalf of herself

 3 and others similarly situated, filed a complaint against Defendant alleging violations of

 4 the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq. Dkt. 1.

 5         On April 3, 2013, Defendant filed a motion to strike class allegations. Dkt. 17.

 6 On April 14, Wilson responded. Dkt. 21. On April 17, 2014, Defendant replied (Dkt.

 7 23) and filed a motion to dismiss (Dkt. 22). On May 5, 2014, Wilson responded to the

 8 motion to dismiss. Dkt. 25. On May 7, 2014, Defendant replied. Dkt. 26.

 9                           II.    FACTUAL BACKGROUND

10         In the complaint, Wilson alleges that she is a consumer under the FDCPA. Dkt. 1.

11 ¶ 5. Wilson alleges that her

12         obligation, or alleged obligation, arises from a transaction in which the
           money, property, insurance, or services that are the subject of the
13         transaction were incurred primarily for personal, family, or household
           purposes—namely, a personal vehicle rented from Budget Rent-A-Car
14         located at Ontario International Airport in California (the “Debt”).

15 Id., ¶ 7. Wilson alleges that Defendant inappropriately contacted her regarding the Debt

16 in violation of the FDCPA.

17                                  III.    DISCUSSION

18 A.      Motion to Dismiss

19         Motions to dismiss brought under Rule 12(b)(6) of the Federal Rules of Civil

20 Procedure may be based on either the lack of a cognizable legal theory or the absence of

21 sufficient facts alleged under such a theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d

22 696, 699 (9th Cir. 1990). Material allegations are taken as admitted and the complaint is


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 1 construed in the plaintiff’s favor. Keniston v. Roberts, 717 F.2d 1295, 1301 (9th Cir.

 2 1983). To survive a motion to dismiss, the complaint does not require detailed factual

 3 allegations but must provide the grounds for entitlement to relief and not merely a

 4 “formulaic recitation” of the elements of a cause of action. Bell Atlantic Corp. v.

 5 Twombly, 127 S. Ct. 1955, 1965 (2007). Plaintiffs must allege “enough facts to state a

 6 claim to relief that is plausible on its face.” Id. at 1974. In the event the court finds that

 7 dismissal is warranted, the court should grant the plaintiff leave to amend unless

 8 amendment would be futile. Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048,

 9 1052 (9th Cir. 2003).

10         In this case, Plaintiff has used labels and conclusions to state an element of her

11 claim. In order to state a claim, Plaintiff must have incurred debt for personal, family or

12 household purposes. Plaintiff alleges that she rented a car for personal reasons. Dkt. 1, ¶

13 7. This allegation is a label and conclusion, and, under Twombly, Plaintiff fails to

14 properly state a claim for relief. Therefore, the Court grants Defendant’s motion to

15 dismiss. Plaintiff, however, is granted leave to amend because it does not appear that any

16 amendment would be futile.

17 B.      Motion to Strike

18         Defendant argues that the Court should strike Wilson’s class allegations because

19 she does not meet the requirements of Fed. R. Civ. P. 23(a)(2)–(4) or 23(b)(1)–(3). Dkt.

20 17 at 5–1. These arguments are primarily based on three propositions: (1) individual

21 questions of fact predominate over class questions, (2) Wilson’s credibility is at issue,

22 and (3) Defendant’s financial condition would make any recovery nominal or non-


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 1 existant. Id. With regard to the individual questions of fact, Defendant contends that

 2 separate mini-trials would be necessary to determine whether a putative class member

 3 rented the car for personal or business purposes. The Court is not convinced at this time

 4 that such a question of fact would require a mini-trial. If subsequent discovery shows

 5 that obtaining a declaration under penalty of perjury as to this issue, or similar tactic, will

 6 not sufficiently protect Defendant, then the Court may be persuaded that independent

 7 questions predominate. Such questions, however, do not appear to predominate the

 8 litigation or show that a class is unmanageable. Therefore, the Court denies Defendant’s

 9 motion on the issues of Rule 23(a)(2) and 23(b)(3).

10         With regard to Wilson’s credibility, Defendant fails to connect the fact of

11 Wilson’s prior lawsuits with the conclusion that her credibility is at issue because she

12 filed those lawsuits. Therefore, the Court denies Defendant’s motion on the issue of Rule

13 23(a)(3).

14         Finally, with regard to Defendant’s financial condition, the evidence at this point

15 is insufficient to strike the class allegations. At the very least, Wilson should have an

16 opportunity to conduct discovery to determine each putative class member’s potential

17 recovery. Evidence of negative net worth for 2011 and 2012 is not undisputed evidence

18 that recovery would be de minimus. Therefore, the Court denies Defendant’s motion on

19 the issue of Rule 23(a)(4).

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 1                                    IV.      ORDER

 2         Therefore, it is hereby ORDERED that Defendant’s motion to strike class

 3 allegations (Dkt. 17) is DENIED, the motion to dismiss (Dkt. 22) is GRANTED, and

 4 Plaintiff is GRANTED leave to amend.

 5         Dated this 2nd day of June, 2014.

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                                                  BENJAMIN H. SETTLE
                                                  United States District Judge
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